                            UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

In re:                                                 Chapter 11

ENERGY CONVERSION DEVICES,                             Case No. 12-43166
INC., et al.,1                                         (Jointly Administered)

            Debtors.                                   Judge Thomas J. Tucker
______________________________/

         OPINION REGARDING THE “FIRST AND FINAL” FEE APPLICATION
                           OF CLARK HILL PLC

         These jointly-administered cases came before the Court for a hearing on the fee

application filed by Clark Hill PLC (“Clark Hill”), entitled “First and Final Application of Clark

Hill PLC for Allowance and Payment of Fees and Reimbursement of Expenses Incurred As

Counsel to the Official ECD Creditors Sub-Committee of the Official Committee of Unsecured

Creditors of the Debtors ” (Docket # 1369, the “Fee Application”). An objection to the Fee

Application was filed by the Liquidation Trustee of the Energy Conversion Devices Liquidation

Trust (the “Liquidation Trustee”)(Docket # 1454, the “Objection”). The Court has considered

the papers filed by the parties (Docket ## 1369, 1454, and 1579), and other parts of the record,

and the oral arguments of counsel made at the hearing.

         For the reasons stated in this opinion, the Court will sustain the Objection in part and

otherwise overrule it, and will grant the Fee Application, subject to certain relatively minor

reductions from the fee amount requested. But the Court will deny, in its entirety, a

supplemental request filed by Clark Hill, seeking approval of an additional $12,541.50 in fees for

work done by Clark Hill in defending its Fee Application against the Liquidation Trustee’s

         1
         The Debtors in these jointly administered cases are Energy Conversion Devices, Inc. (Case No.
12-43166) and United Solar Ovonic LLC (Case No. 12-43167).



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Objection.

I. Jurisdiction

       This Court has subject matter jurisdiction over this contested matter under 28 U.S.C.

§§ 1334(b), 157(a) and 157(b)(1), and Local Rule 83.50(a)(E.D. Mich.). This is a core

proceeding under 28 U.S.C. §§ 157(b)(2)(A), 157(b)(2)(B), and 157(b)(2)(O).

       This proceeding also is “core” because it falls within the definition of a proceeding

“arising in” a case under title 11, within the meaning of 28 U.S.C. § 1334(b). Matters falling

within this category in § 1334(b) are deemed to be core proceedings. See Allard v. Coenen (In re

Trans-Industries, Inc.), 419 B.R. 21, 27 (Bankr. E.D. Mich. 2009). This is a proceeding “arising

in” a case under title 11, because it is a proceeding that “by [its] very nature, could arise only in

bankruptcy cases.” See id. at 27.

II. Background

       A. The bankruptcy cases

       Just before they filed these Chapter 11 bankruptcy cases on February 14, 2012, Energy

Conversion Devices, Inc. (“ECD”) and its wholly-owned operating subsidiary, United Solar

Ovonic LLC (“USO”), entered into an agreement with a group of ECD’s unsecured note holders

referred to in the agreement as the “Supporting Noteholders,” entitled “Plan Support

Agreement.” The Supporting Noteholders held about 70% of ECD’s bond debt, and overall,

ECD’s bond debt represented about 99% of ECD’s total debts.2 The ECD bondholders are not

creditors of USO. The Plan Support Agreement was dated as of February 13, 2012, the day



       2
           See Amended Supplement to [Foley & Lardner Employment Application] (Docket # 261) at
¶ 8.

                                                   2



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before the Chapter 11 cases were filed.3

       In the Plan Support Agreement, the parties recited that ECD and USO had “determined

that a prompt and structured sale process implemented through” a Chapter 11 bankruptcy

proceeding “is in the best interests of” the “stakeholders” of ECD and USO.4 The Plan Support

Agreement contemplated a Chapter 11 filing, followed promptly by (1) a bidding and sale

process by which ECD and USO would try to sell their “stock or assets . . . that comprise the

Debtors’ solar business exclusive of all cash, cash equivalents, and accounts receivable;” and (2)

a joint liquidating Chapter 11 plan.5

       While the parties to the Plan Support Agreement hoped to achieve one or more going-

concern sales, in order to maximize the sale value of the Debtors’ assets, the bankruptcy bidding

and sale process failed to achieve a full going-concern sale of the solar business. Several months

after filing bankruptcy, in July 2012, the Debtors completed a public auction of the machinery,

equipment, and inventory of USO’s solar business. And other assets of the Debtors were sold

during the first several months of the bankruptcy case. The various sales of Debtors’ assets were

approved by this Court, on motion and notice, and after a hearing.

           The Debtors proposed a joint liquidating plan (the “Plan”) that was consistent with the

Plan Support Agreement. Among other things, the Plan proposed the substantive consolidation

of the bankruptcy estates of the two debtors, ECD and USO. After objections to confirmation

were resolved, the Plan was confirmed with modifications, in an order confirming the Plan

       3
         A copy of the Plan Support Agreement was filed on March 15, 2012, at Docket # 167 (the
“Plan Support Agreement”).
       4
           Plan Support Agreement at 1 (first Recital).
       5
           See id. at 1, 5; Ex. D (Bidding Procedures) at 1; Ex. A (Joint Plan Term Sheet).

                                                     3



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entered on July 30, 2012.6 The confirmed Plan included the substantive consolidation of the

ECD and USO estates. The effective date of the confirmed Plan was August 28, 2012.7 Under

the Plan, John Madden was appointed the Liquidation Trustee, and in that capacity he objected to

the Clark Hill Fee Application.

       B. The ECD Sub-Committee and its retention of Clark Hill

       1. The Foley Retention Order

       Although there are two debtors in these jointly-administered cases, the United States

Trustee chose to appoint only one Official Committee of Unsecured Creditors (the

“Committee”). The Committee chose to employ the law firm Foley & Lardner LLP (“Foley”) as

its counsel. As part of the Committee’s amended application for approval of its employment of

Foley, the Committee and Foley recognized that there were potential conflicts of interest between

the estates of the two bankruptcy debtors, and proposed a method for handling such conflicts of

interest. The amended supplement to Foley’s employment application explained:

                 Because there is one Committee for both Debtors' estates, and there
                 are potential conflicts of interest between the estates, which may
                 result in a conflict of interest for Foley, the Committee requests
                 that this Court approve Foley's employment, including the method
                 of handling the Potential Conflicts, as defined below, in the event
                 they become Actual Conflicts, as defined below, all as further
                 defined and outlined below and in the Amended Supplemental
                 Simon Declaration.
                 ...

                 Conflicts between creditors of different debtors and estates are
                 typically inherent in any case where there are multiple debtors, but
                 only one committee. These conflicts can include, but are not

       6
          Docket # 1064, the “Order Confirming Plan.” The Plan was filed on June 20, 2012 (Docket
# 754, the “Plan”).
       7
           See Notice of Effective Date, etc. (Docket # 1220).

                                                     4



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                  limited to inter-Debtor transactions, Plan confirmation issues, and
                  consolidation issues, among others.

                  Based on the Debtors' filings in these Chapter 11 Cases, Foley is
                  aware of certain potential conflicts which may arise in these
                  Chapter 11 Cases between the creditors of both the ECD and USO
                  estates (the "Potential Conflicts") and become actual conflicts of
                  interest between the estates and for Foley as counsel to the single
                  Committee (the "Actual Conflicts"). The Potential Conflicts
                  include, but are not limited to: (a) pre-petition intercompany
                  transfers from ECD to USO of approximately $800 million, as set
                  forth in the Declaration of William C. Andrews, Executive Vice
                  President and Chief Financial Officer, In Support of the First-Day
                  Motions (Dkt. No. 10), ¶ 25; (b) the propriety and characterization
                  of the foregoing transfers (e.g. whether they should be considered
                  debt or equity) and the treatment thereof in these Chapter 11 Cases;
                  (c) the propriety and characterization of the $5 million line of
                  credit ECD purportedly advanced to USO in December 2011,
                  asserted to be secured by a lien on USO's assets; (d) the extent,
                  nature, characterization, perfection, and treatment of such
                  inter-company debt; (e) post-petition transactions between the
                  Debtors and affiliates, including nature and treatment of such
                  claims; (f) the propriety and benefit of potential substantive
                  consolidation of the Debtors; and (g) the allocation of proceeds
                  from a sale of assets of both Debtors in one sale. The position
                  taken regarding the foregoing issues, and the outcome, may benefit
                  one Debtor's creditors more than the other Debtor's creditors, or
                  could benefit the creditors of one Debtor and be detrimental to the
                  creditors of the other. The foregoing are the Potential Conflicts
                  identified to date based upon the Debtors' current filings. Other
                  Potential Conflicts could arise in the future.8

        In its Order granting Foley’s employment application, filed April 20, 2012, (Docket

# 406, the “Foley Retention Order”), the Court adopted the procedure proposed by the

Committee and Foley, and ordered the following:

                  [IT IS] ORDERED, that as it relates to the representation of the
                  Committee with respect to the Potential Conflicts which result in
                  Actual Conflicts, if they arise, the following procedure is approved:

        8
             Amended Supplement, etc. (Docket # 261) at ¶¶ 9-11 (footnote omitted; underlining in
original).

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                  a. Foley will identify for the Committee members the
                  Potential Conflicts and will determine with the Committee
                  whether an Actual Conflict exists.

                  b. In the event the Committee and Foley determine that an
                  Actual Conflict exists, the Committee will form an ad hoc
                  sub-committee comprised of members of the Committee
                  who are creditors of ECD, and choose to participate on
                  such sub-committee (the "ECD Creditors Sub-
                  Committee"), and an ad hoc sub-committee comprised of
                  members of the Committee who are creditors of USO and
                  choose to participate on such sub-committee (the "USO
                  Creditors Sub-Committee" and together with the ECD
                  Creditors Sub-Committee, the "Sub-Committees"). In the
                  event a member of the Committee is a creditor of both
                  Debtors, such member may be a member of both
                  Sub-Committees, but shall have the opportunity to recuse
                  itself from one or both Sub-Committees if it feels that the
                  dual claims present a conflict for such member.

                  c. The ECD Creditors Sub-Committee shall have the right
                  to retain independent special conflicts counsel and other
                  professionals to evaluate the conflict and take any required
                  action in these Chapter 11 Cases, subject to the usual
                  retention requirements under the Bankruptcy Code. The
                  ECD Creditors Sub-Committee shall also have the right, in
                  its discretion, to enter into other agreements to receive
                  counsel from other attorneys and professionals, including,
                  for example, attorneys and professionals representing the
                  creditors on the ECD Creditors Sub-Committee
                  individually or the Ad Hoc Professionals, under a joint
                  defense agreement or otherwise, or elect not to retain
                  counsel.

                  d. Either the ECD Creditors Sub-Committee or the USO
                  Creditors Sub-Committee will have the right to take
                  independent action in these Chapter 11 Cases, as if a
                  separate, official committee of such Debtor, if it determines
                  to do so, including without limitation filing pleadings,
                  objections, or supporting matters, with respect to the Actual
                  Conflicts.



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                        e. In order to avoid unnecessary costs to the estates, and any
                        conflicts of interest resulting from an Actual Conflict, if an
                        Actual Conflict arises where the ECD Creditors
                        Sub-Committee has been formed and where the USO
                        Creditors Sub-Committee has been formed and the
                        Sub-Committees are addressing an Actual Conflict, Foley
                        will represent only the USO Creditors Sub- Committee and
                        not the ECD Creditors Sub-Committee with respect to
                        those limited Actual Conflicts. This will avoid the expense
                        of a third law firm being retained to represent a portion of
                        the Committee on the Actual Conflicts; . . .9

       2. The Committee’s determination that “Actual Conflicts” existed, and events that
          followed

       Soon after entry of the Foley Retention Order, the Committee and Foley determined that

“Actual Conflicts” existed, and the Committee formed the subcommittees as authorized in the

Foley Retention Order. The Official ECD Creditors Sub-Committee (the “ECD Sub-Commitee”)

initially consisted of only one member, namely Bank of New York Mellon Trust Company, as

indenture trustee for ECD’s 3% Convertible Senior Notes (“BNY Mellon”). Later, another

creditor was added to that subcommittee, namely the Pegasus Group.10

       As permitted by the Foley Retention Order, the ECD Sub-Committee chose to employ

Clark Hill as its counsel. With the concurrence of the United States Trustee, the ECD Sub-

Committee sought the Court’s approval of the employment of Clark Hill, and that approval was

granted in an order filed on May 8, 2012.11 The Order (Docket # 501, the “Clark Hill Retention

Order”) authorized the ECD Sub-Committee to employ Clark Hill as its counsel “in accordance
       9
           Foley Retention Order (Docket # 406) at 2-3. The above quotation omits footnote 2, which
states that “[c]apitalized terms not defined herein shall have the meaning ascribed to them in the
Application and/or the Supplement.” Id. at 2 n.2.
       10
         See Tr. of June 6, 2012 hearing (Docket # 2397) at 23 (Statement of John Simon, attorney for
the Committee).
       11
            Docket ## 459, 501.

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with Bankruptcy Code Sections 328 and 1103, effective nunc pro tunc, to April 20, 2012,

pursuant to the terms set forth in the Application and procedures outlined in the Court’s [Foley

Retention Order].”12

       C. The Court’s denial of the motion to vacate the Clark Hill Retention Order

       On May 14, 2012, the ECD noteholders who had signed the Plan Support Agreement,

calling themselves the “Ad Hoc Noteholder Consortium,” (the “Consortium”) filed a motion to

vacate the Clark Hill Retention Order.13 The primary argument in this motion was that the ECD

Sub-Committee should not have been appointed, nor did that Sub-Committee need to employ

separate counsel from the Committee’s counsel, because there was in fact no “Actual Conflict” to

permit these things, within the meaning of the Foley Retention Order. The ECD Sub-Committee

objected to the motion,14 and the Committee (through its counsel, Foley) also filed a response to

the motion.15 After holding a hearing on June 6, 2012, the Court denied the motion.16

       In its response to the Consortium’s motion, the Committee stated that it had determined

that an “Actual Conflict” exists, so that its appointment of the ECD Sub-Committee was

authorized and proper under the Foley Retention Order. And the Committee argued that under

the Foley Retention Order, the ECD Sub-Committee had the right to retain its own counsel “to

evaluate any conflict issue and to take any required action in these Chapter 11 cases.” The

       12
          Order Approving Employment of Clark Hill PLC as Counsel to the Official ECD Creditors
Sub-Committee of the Official Committee of Unsecured Creditors of the Debtors Nunc Pro Tunc to April
20, 2012 (Docket # 501) at ¶ 1.
       13
            Docket # 529.
       14
            Docket # 576.
       15
            Docket # 608.
       16
            Docket # 676.

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Committee stated:

                The Consortium bases its Motion to Vacate largely on the mistaken
                assumption that there are no Actual Conflicts. As the facts
                demonstrate, several irreconcilable Actual Conflicts exist
                between the creditors of ECD and the creditors of USO.
                Approximately $792 million in prepetition intercompany
                transfers from ECD to USO, a purported $5 million secured
                line of credit extended by ECD to USO, the characterization of
                such transfers, plan negotiations and the undecided issue of
                substantive consolidation are a few examples of such Actual
                Conflicts.
                ...

                7. . . . The Foley Retention Order provides, inter alia, that Foley
                will identify for the Committee members the Potential Conflicts
                and will determine with the Committee whether an Actual Conflict
                exists.

                8. Pursuant to the Foley Amended Supplement and the Foley
                Retention Order, the ECD Sub-Committee has the right to retain
                independent special conflicts counsel and other professionals to
                evaluate any conflict issue and take any required action in these
                Chapter 11 Cases.
                 ...

                10. On March 15, 2012, ECD filed its Schedules showing an
                intercompany receivable from USO with a book value of
                $792,138,554.00 (the "USO Receivable"). In their initial schedules,
                the Debtors valued the USO Receivable at zero, but then in
                amended schedules listed the value as "unknown." On March 27,
                2012, ECD filed its first Monthly Operating Report [Dkt. No. 264],
                which included a balance sheet listing the USO Receivable at its
                face value of $793.1 million as an asset. The Debtors' Chief
                Financial Officer, Mr. Andrews, testified that ECD has never
                documented the USO Receivable as a loan in any way, prior to the
                changed characterization on the Debtors' books approximately 7
                months before the bankruptcy filing. Testimony of Mr. Andrews,
                CFO, § 341 meeting, March 23, 2012. USO, in its Schedules filed
                on March 15, 2012, includes the USO Receivable as a claim of
                unknown value.

                11. The Debtors have filed a chapter 11 plan that calls for


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                substantive consolidation of the Debtors' estates, including releases
                of intercompany claims.

                12. In accordance with the procedures set forth in the Amended
                Foley Application and the Foley Retention Order, based on actual
                conflicts identified and discussed with the Committee, including
                regarding the intercompany claims and transfers and plan
                negotiations (including substantive consolidation issues), as noted
                in the Amended Foley Application, the Committee decided to form
                the ECD Sub-Committee and a sub-committee comprised of USO
                creditors (the "USO Sub-Committee").
                ...

                15. The Consortium's claim that this Court should vacate the Clark
                Hill retention order under Rule 60(b)(6) or 60(b)(1) because Actual
                Conflicts somehow do not exist is based on an incorrect premise
                and should be rejected. To the contrary, as discussed above, Actual
                Conflicts plainly do exist, and the ECD Sub-Committee was
                formed in order to address those Actual Conflicts.

                16. The Consortium further argues that the Clark Hill [R]etention
                [O]rder should be vacated under Rule 60(b)(6) because the ECD
                Sub-Committee does not require separate counsel as it is currently
                comprised of only one member, BNY Mellon, which has its own
                counsel, and the Consortium also has its own counsel. This
                argument ignores the realities of the ECD Sub-Committee and its
                significant duties. First, the ECD Sub-Committee has a fiduciary
                duty to act in the best interests of all creditors of ECD — not
                merely the interests of BNY Mellon, the noteholders or the
                Consortium members. The ECD Sub-Committee's interests are
                distinct and call for separate counsel, rather than mere regurgitation
                of the positions taken in support of certain members of the ECD
                creditor constituency. Moreover, the composition of the ECD
                Sub-Committee may change.17


        17
            Response of Official Committee of Unsecured Creditors[, etc.] (Docket # 608) at 2, 3-6 ¶¶ 7-
8, 10-12, 15-16 (bold emphasis added, underlining in original). In its Response, the Committee also
argued that Clark Hill had a conflict of interest in acting as counsel for the ECD Sub-Committee, because
it also represented that the Sub-Committee’s sole member, BNY Mellon. That conflict was resolved, to
the satisfaction of the Committee (and the Court) when Clark Hill agreed that it would no longer
represent BNY Mellon individually, but rather would represent only the ECD Sub-Committee. As a
result, during the June 6, 2012 hearing the Committee dropped its objection to Clark Hill acting as
counsel for the ECD Sub-Committee.

                                                   10



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       During the June 6, 2012 hearing on the Consortium’s motion, counsel for the Committee

(an attorney with the Foley firm) reiterated on behalf of the Committee that the Committee

“generally supported the retention of Clark Hill . . . because there are actual conflicts. So the

ECD Sub-Committee does need counsel. . . .”18

       At the conclusion of the June 6 hearing, the Court gave a bench opinion explaining why it

was denying the Consortium’s motion to vacate the Clark Hill Retention Order. In that bench

opinion, the Court stated, among other things, the following:

                 The motion by the ad hoc committee [(the Consortium)] will be
                 denied for the following reasons.

                 First, . . . in my view there is not a problem with . . . the genesis of
                 the appointment of the Clark Hill firm to represent the ECO
                 creditors subcommittee under the applicable orders.

                 This begins with the Foley -- the so-called Foley Retention Order
                 which was filed April 20, 2012 at docket number 406. That order
                 authorized the retention . . . of the Foley Lardner Firm as counsel
                 to the committee. It also contained provisions dealing with what
                 happens with potential conflicts and actual conflicts as those terms
                 are defined in the amended supplement to the employment
                 application of Foley at docket number 261 at paragraph 11.
                 ...

                 It's apparent to me from [the Foley Retention Order] that first of all
                 the committee had the discretion with Foley to determine whether
                 an actual conflict existed and if they determined that an actual
                 conflict existed the committee had the authority without further
                 authorization from the Court, without any notice, without any right
                 on the part of anybody to object, to form this EC creditor
                 subcommittee and they did so and as the committee stated in its
                 response to the present motion at docket 608, paragraphs 12 and 15
                 among other places and as they have acknowledged in this hearing
                 and I think in other hearings the committee did determine that an
                 actual conflict existed and formed the ECD creditor subcommittee
                 as a result.
       18
            Tr. of the June 6, 2012 hearing (Docket # 2397) at 9.

                                                    11



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               There is then -- there is authority in the Foley Retention Order for
               the committee to have done what they did in establishing the ECD
               creditor subcommittee. The provision I read from paragraph C on
               page 3 of that Foley Retention Order authorized them once it was
               formed, the ECO creditor subcommittee to retain independent
               special conflict counsel for the purpose, . . . "To evaluate the
               conf1ict and take any required action in these Chapter 11 cases
               subject to the usual retention requirements under the bankruptcy
               code."

               So, the ECD subcommittee had the right to retain independent
               counsel for the purpose stated in the Foley Retention Order, to
               evaluate the conflict or conflicts and take -- and that 's a small "c",
               conflict, and take any required action in these Chapter 11 cases. So
               it 's clear from the Foley Retention Order in the events that have
               occurred that the committee had authority to form and it did form
               the ECD creditor subcommittee and once that subcommittee was
               formed that committee had the right to retain independent conflict
               counsel for the purposes stated, to evaluate the conflict or conflicts
               and take any required action in these Chapter 11 cases, that that
               subcommittee, the ECD creditor subcommittee chose . . . the Clark
               Hill firm to be its counsel under this provision. In the order that
               with the U.S. Trustee's concurrence . . . approved the employment
               of Clark Hill for that purpose which is the order that's under
               challenge by the present motion, docket number 501 stated that
               Clark Hill was authorized and empowered as counsel for the ECD
               creditor 's subcommittee among other things pursuant to the terms
               set forth in the application and the procedures outlined in the Foley
               retention Order." That's paragraph one.

               So the order approving the employment of Clark Hill as counsel
               for the ECD creditors subcommittee is clear, I think that Clark
               Hi1l's employment was for the purposes stated and authorized in
               paragraph C of the Foley Retention Order which I read from
               earlier, "To evaluate the conflict or conflicts and take any required
               action in these Chapter 11 cases."
               ...

               . . . the ECD creditor subcommittee was validly formed and it did
               have authority under the Foley Retention Order to . . . choose the
               Clark Hill firm and so there was authority to seek to employ the
               Clark Hill firm. And any arguments by the ad hoc committee note
               holders that, "Well, there really was never any actual conflict," in


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                 my view is an argument that even if the ad hoc note holders are
                 actually correct on that point or if they are correct in their view as
                 the case progresses that the actual conflicts are much fewer in
                 number and quite more limited than what the committee thought at
                 any point the actual conflicts were[,] . . .

                 . . . under the Foley Retention Order it is not for the ad hoc
                 committee note holders to say or even have a voice in arguing . . .
                 there has been no Actua1 Conflict, . . . and so the EC creditors
                 subcommittee should not have been formed and they should not
                 have had the authority to hire counsel. That's a matter within the
                 purview solely of the committee and the committee . . . is
                 charged with determining if in their view there was an [A]ctual
                 [C]onflict and they did so that's the end of it[,] . . .
                 [i]n terms of whether the EC creditors subcommittee was
                 properly formed. Once they are properly formed they have the
                 right to retain counsel to evaluate the conflict, take any
                 required action in these Chapter 11 cases.

                 So, there clearly was authority for this . . . EC creditor
                 subcommittee to hire counsel. They chose Clark Hill.19

       D. The Clark Hill Fee Application

       In its Fee Application, Clark Hill seeks final approval of attorney fees in the amount of

$123,242.00 and reimbursement of expenses in the amount of $414.25, for Clark Hill’s services

as counsel to the ECD Sub-Committee. This is for Clark Hill’s work during the time period

April 20, 2012 through August 28, 2012 (the Effective Date of the confirmed Plan). Under an

Order filed on May 4, 2012, establishing procedures for interim compensation of professionals,20

Clark Hill has been paid, on an interim basis, fees totaling $92,124.80 and reimbursement for

expenses of $414.25, for the time period April 20, 2012 through July 31, 2012.21


       19
            Id. at 25-31 (emphasis added).
       20
            Docket # 477.
       21
            Fee Application (Docket # 1369) at ¶¶ 8-11.

                                                   13



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        There were many professionals, including attorneys and financial advisors, who were

employed and paid in this case, with the Court’s approval. As one might expect under the

circumstances of this case, Clark Hill’s request for approval of fees totaling $123,242.00 is much

smaller than the total fee requests that were made by the Debtors’ attorneys and by the

Committee’s attorneys (Foley), and allowed by the Court (in a reduced amount in the case of

Foley). For example, the Court approved total fees for the Debtors’ primary counsel (Honigman

Miller Schwartz and Cohn LLP), for its work through the August 28, 2012 Effective Date of the

confirmed Plan, of $2,026,221.50.22 The Court approved total fees for the Committee’s counsel

Foley, for its work through the August 28, 2012 Effective Date, of $779,129.00. (This was a

reduced amount from Foley’s original request of $874,129.00 in fees. It was reduced by

stipulation between Foley and the Liquidation Trustee, after the Trustee objected to Foley’s

original fee application).23

        The Liquidation Trustee filed a timely objection to the Clark Hill Fee Application, to

which Clark Hill filed a written response.24 The Court then held a hearing.

        The day before the hearing on the Fee Application, Clark Hill filed a “Supplement” to the

Fee Application, in which Clark Hill seeks approval of additional fees in the amount of

$12,541.50.25 In that Supplement, Clark Hill seeks fees for the time period November 12, 2012

through December 11, 2012, for a total of 27.90 hours of attorney time. All but .6 hours of this
        22
           Docket ## 1490, 1372. No objections were filed by anyone to Honigman Miller’s fee
application.
        23
             Docket ## 1721, 1375, 1455, 1717.
        24
             Docket ## 1454, 1579.
        25
         Docket # 1595, entitled “Supplement to First and Final Application of Clark Hill PLC for
Allowance and Payment of Compensation” (the “Supplement”).

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time was spent reviewing the Liquidation Trustee’s objection to Clark Hill’s Fee Application and

preparing and filing Clark Hill’s written response to the objection. The other .6 hours of attorney

time was to prepare the Supplement itself.

          E. The Liquidation Trustee’s objection to the Fee Application

          In objecting to the Clark Hill Fee Application, the Liquidation Trustee makes several

arguments. Its primary argument is that much of Clark Hill’s work as counsel for the ECD Sub-

Committee was unnecessary, and unrelated to any actual conflict between the interests of the

ECD creditors and the ECD Sub-Committee on the one hand, and the interest of the USO

creditors and the USO Sub-Committee on the other hand. For example, the Liquidation Trustee

argues:

                    The Ad Hoc Noteholders Consortium (the "AHNC") [previously]
                    raised the concern that "it is difficult to imagine . . . what work
                    Clark Hill could perform on behalf of the Sub-Committee that is
                    not entirely duplicative of other work already being performed"
                    and warned of "the gratuitous multiplication of committees and
                    professionals where none are needed." [Docket No. 535, p. 6.]
                    Reviewing Clark Hill's Application, it is clear that these fears have
                    been fully borne out.

                    There was never any serious doubt that a substantive consolidation
                    plan would be proposed and supported by all concerned, and,
                    therefore, the number of conflict issues between the so-called ECD
                    Subcommittee and USO Subcommittee should have been minimal.
                    Nonetheless, Clark Hill's Application seeks compensation for an
                    astonishing $123,242 for services performed in its capacity as
                    conflicts counsel to the ECD Subcommittee. Even a cursory review
                    of Clark Hill's time records, however, reveals that many of the
                    services performed were unrelated to any actual conflict.
                    Moreover, the AHNC, which represents 70% of the ECD debt,
                    found that they received no benefit from Clark Hill's activities but
                    rather were harmed by the needless dissipation of estate assets on
                    unnecessary professionals' fees and costs.26
          26
               Objection (Docket # 1454) at ¶¶ 1-2 (italics in original).

                                                         15



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       The Liquidation Trustee “requests that 40% of the total Clark Hill time charges of

$123,242.00 be disallowed . . . [and] that the Court set a status conference to establish a schedule

for discovery and an evidentiary hearing on this Objection and that there be reserved to the

Trustee the right to seek further disallowance based on more specific information which may be

developed following such discovery and evidentiary hearing.”27

III. Discussion

       A. Principles regarding fee applications under Bankruptcy Code § 330

       Bankruptcy Code § 330 provides, in relevant part:

                  (a)(1) After notice to the parties in interest and the United States
                  Trustee and a hearing, and subject to sections 326, 328, and 329,
                  the court may award to a trustee, a consumer privacy ombudsman
                  appointed under section 332, an examiner, an ombudsman
                  appointed under section 333, or professional person employed
                  under section 327 or 1103–

                         (A) reasonable compensation for actual, necessary services
                  rendered by the trustee, examiner, ombudsman, professional
                  person, or attorney and by any paraprofessional person employed
                  by any such person; and

                          (B) reimbursement for actual, necessary expenses.

                  (2) The court may, on its own motion or on the motion of the
                  United States Trustee, the United States Trustee for the District or
                  Region, the trustee for the estate, or any other party in interest,
                  award compensation that is less than the amount of compensation
                  that is requested.

                  (3) In determining the amount of reasonable compensation to be
                  awarded to an examiner, trustee under Chapter 11, or professional
                  person, the court shall consider the nature, the extent, and the value
                  of such services, taking into account all relevant factors, including–


       27
            Id. at ¶ 3.

                                                   16



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               (A) the time spent on such services;

               (B) the rates charged for such services;

               (C) whether the services were necessary to the administration of, or
               beneficial at the time at which the service was rendered toward the
               completion of, a case under this title;

               (D) whether the services were performed within a reasonable
               amount of time commensurate with the complexity, importance,
               and nature of the problem, issue, or task addressed;

               (E) with respect to a professional person, whether the person is
               board certified or otherwise has demonstrated skill and experience
               in the bankruptcy field; and

               (F) whether the compensation is reasonable based on the customary
               compensation charged by comparably skilled practitioners in cases
               other than cases under this title.

               (4)(A) Except as provided in subparagraph (B), the court shall not
               allow compensation for–

                       (i) unnecessary duplication of services; or

                       (ii) services that were not–

                       (I) reasonably likely to benefit the debtor's estate; or

                       (II) necessary to the administration of the case.
               ...

               (6) Any compensation awarded for the preparation of a fee
               application shall be based on the level and skill reasonably required
               to prepare the application.

11 U.S.C. § 330.

       “A bankruptcy court is afforded broad discretion in determining attorney’s fees.” In re

McLean Wine Co., Inc., 463 B.R. 838, 846 (Bankr. E.D. Mich. 2011)(quoting Thomas v.

Robinson (In re Robinson), 189 Fed.Appx. 371, 373 (6th Cir.2006)). Under § 330,


                                                 17



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               To determine the amount of compensation that is “reasonable,” the
               Court must use the lodestar method of fee calculation, based on the
               . . . fee application . . .. See generally Boddy v. United States
               Bankruptcy Court, Western District of Kentucky (In re Boddy), 950
               F.2d 334, 337-38 (6th Cir.1991). This involves a two-step
               analysis. First, “the court multiplies a reasonable hourly rate by the
               proven number of hours reasonably expended on the case by
               counsel” to arrive at the lodestar figure. Geier v. Sundquist, 372
               F.3d 784, 791 (6th Cir. 2004). “Once the lodestar figure is
               established, the trial court is permitted to consider other factors,
               and to adjust the award upward or downward to achieve a
               reasonable result.” Id. at 792 (citing Hensley v. Eckerhart, 461
               U.S. 424, 434 (1983)).

               In determining the lodestar figure, courts generally consider the
               factors listed in Johnson v. Georgia Highway Express, Inc., 488
               F.2d 714, 717-19 (5th Cir.1974):

               (1) the time and labor required; (2) the novelty and difficulty of the
               question; (3) the skill requisite to perform the legal service
               properly; (4) the preclusion of other employment by the attorney
               due to acceptance of the case; (5) the customary fee; (6) whether
               the fee is fixed or contingent; (7) time limitations imposed by the
               client or the circumstances; (8) the amount involved and the results
               obtained; (9) the experience, reputation, and ability of the attorney;
               (10) the "undesirability" of the case; (11) the nature and length of
               the professional relationship with the client; and (12) awards in
               similar cases.

               See Geier, 372 F.3d at 792. Although “‘many of these factors
               usually are subsumed within the initial calculation of hours
               reasonably expended at a reasonable hourly rate to arrive at the
               lodestar figure’” in the first step of the analysis, some of these
               factors may still serve as a basis for an upward or downward
               adjustment of the lodestar figure in the second step of the analysis.
               Id. at 793-94. For example, in a case where “the quality of service
               rendered was superior to that one reasonably should expect in light
               of the hourly rates charged and that the success was ‘exceptional,’”
               an upward enhancement may be appropriate. Id. at 794.

In re Moss, 320 B.R. 143, 156-57 (Bankr. E.D. Mich. 2005).

       The fee applicant must exercise appropriate “billing judgment” in its fee application:


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               The standard practice of professionals submitting fee applications
               should be to “make a good faith effort to exclude from a fee
               request hours that are excessive, redundant or otherwise
               unnecessary; just as a lawyer in private practice ethically is
               obligated to exclude such hours from his fee submission.” Hensley
               v. Eckerhart, 461 U.S. 424, 434, 103 S.Ct. 1933, 1939–40, 76
               L.Ed.2d 40 (1983) (discussing billing practice in context of
               statutory attorney fees). This exercise of “billing judgment” is an
               essential, and as noted above, ethically mandated, component of
               every fee application submitted to the [bankruptcy] court [under
               §§ 330 and 331].

In re Bennett Funding Grp., Inc., 213 B.R. 234, 241 (Bankr. N.D.N.Y. 1997); see also McLean

Wine Co., 463 B.R. at 853 (“Courts have stated that ‘“billing judgment is an absolute

requirement of fee applications in bankruptcy.”’”)(citation omitted).

       In this case, the Liquidation Trustee does not argue that the attorney hourly rates in the

Clark Hill Fee Application are unreasonable, and the Court finds them to be reasonable. The

dispute concerns the work done by Clark Hill, and in some respects, the amount of time spent on

that work.

       B. The Liquidation Trustee’s “no actual conflict” argument

       As an initial point, the Court disagrees with the Liquidation Trustee’s argument that there

were never any actual conflicts of interest that reasonably required the involvement of Clark Hill

as counsel for the ECD Sub-Committee. Rather, the Court finds that early in these Chapter 11

cases, and until the Court was able to confirm the Plan in these cases (which included the

substantive consolidation of the two bankruptcy estates), there were actual conflicts of interest

between the interests of the ECD creditors on the one hand, and the interests of the USO

creditors on the other hand, such that each of the following things were justified and reasonable:

(1) the Committee’s appointment of the ECD Sub-Committee; (2) the ECD Sub-Committee’s


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employment of Clark Hill as its counsel; and (3) all but a very minor part of Clark Hill’s work

and attorney time in this case.

       As permitted by the Foley Retention Order — an order that no party in interest ever

objected to or sought relief from — the Committee, with the advice of its counsel Foley,

determined that actual conflicts existed (“Actual Conflicts” as that term is defined in the Foley

Retention Order). As the Committee accurately found and described, these actual conflicts

included the following:

               As the facts demonstrate, several irreconcilable Actual Conflicts
               exist between the creditors and ECD and the creditors of USO.
               Approximately $792 million in prepetition intercompany
               transfers from ECD to USO, a purported $5 million secured
               line of credit extended by ECD to USO, the characterization of
               such transfers, plan negotiations and the undecided issue of
               substantive consolidation are a few examples of such Actual
               Conflicts. . . .

                       10. On March 15, 2012, ECD filed its Schedules showing
               an intercompany receivable from USO with a book value of
               $792,138,554.00 (the "USO Receivable"). In their initial schedules,
               the Debtors valued the USO Receivable at zero, but then in
               amended schedules listed the value as "unknown." On March 27,
               2012, ECD filed its first Monthly Operating Report [Dkt. No. 264],
               which included a balance sheet listing the USO Receivable at its
               face value of $793.1 million as an asset. The Debtors' Chief
               Financial Officer, Mr. Andrews, testified that ECD has never
               documented the USO Receivable as a loan in any way, prior to the
               changed characterization on the Debtors' books approximately 7
               months before the bankruptcy filing. Testimony of Mr. Andrews,
               CFO, 341 meeting, March 23, 2012. USO, in its Schedules filed
               on March 15, 2012, includes the USO Receivable as a claim of
               unknown value.

                       11. The Debtors have filed a chapter 11 plan that calls for
               substantive consolidation of the Debtors' estates, including
               releases of intercompany claims.



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                        12. . . . [B]ased on actual conflicts identified and discussed
                with the Committee, including regarding the intercompany claims
                and transfers and plan negotiations (including substantive
                consolidation issues), . . . the Committee decided to form the ECD
                Sub-Committee and a sub-committee comprised of USO creditors.
                 ...

                        15. . . . [A]s discussed above, Actual Conflicts plainly do
                exist, and the ECD Sub-Committee was formed in order to address
                those Actual Conflicts.28

        Contrary to the Liquidation Trustee’s view, and notwithstanding the Plan Support

Agreement described in Part II.A of this opinion, the Court finds that until the Debtors’ Plan was

confirmed, the confirmation of a plan based on substantive consolidation of the two bankruptcy

estates was not a foregone conclusion. The Court must view the Fee Application with this in

mind, even though in the end such a plan was confirmed, as it turned out, with substantial voting

support from both the ECD creditors and the USO creditors. The Court must avoid using only

hindsight — viewing the matter only from an after-the-fact, post-confirmation perspective. See,

e.g., 11 U.S.C. § 330(a)(3)(C)(relevant factors include “whether the services were necessary to

the administration of, or beneficial at the time at which the service was rendered toward the

completion of, a case under this title”)(emphasis added); McLean Wine Co., 463 B.R. at 848:

             When evaluating the benefit to the estate, “courts objectively consider
             whether the services rendered were reasonably likely to benefit the estate
             from the perspective of the time when such services were rendered.” In re
             Value City Holdings, Inc., 436 B.R. 300, 305 (Bankr.S.D.N.Y.2010)
             (citation omitted). “The pertinent question is not whether the services
             performed by the professional conferred an actual benefit upon the estate;
             but whether, when viewed under the circumstances in existence at the
             time, the services were reasonably calculated to benefit the estate.” In re
             Kennedy Mfg., 331 B.R. 744, 748 (Bankr.N.D.Ohio 2005) (citation
             omitted). In making this determination, however, “[a] court should resist
        28
            Response of Official Committee of Unsecured Creditors[, etc.] (Docket # 608) quoted in Part
II.C of this opinion, at 2, 3-6 ¶¶ 10-12, 15 (emphasis added).

                                                  21



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              the temptation to engage in ‘20/20 hindsight,’ and focus instead on facts
              known (or which should have been known) to the applicant at critical
              points during the pendency of the case.” In re Arnold, 162 B.R. 775, 778
              (Bankr.E.D.Mich.1993) (citation omitted).

        Under the circumstances, the Court finds that the formation of the ECD Sub-Committee

and that Sub-Committee’s employment of Clark Hill were reasonable and necessary. And, with

the exceptions discussed below, the Court finds that all of Clark Hill’s work reflected in the Fee

Application constituted “actual, necessary services” and was “necessary to the administration of,

or beneficial at the time at which the service[s] [were] rendered toward the completion of” these

Chapter 11 cases. 11 U.S.C. §§ 330(a)(1)(A), 330(a)(3)(C). And such work was “reasonably

likely to benefit” the estate of ECD, and was not an “unnecessary duplication of services” with

work done by the Foley firm. See 11 U.S.C. §§ 330(a)(4)(i); 330(a)(4)(ii)(I). And as discussed

in more detail below, the Court finds that such work was within the scope of work authorized by

the Clark Hill Retention Order.

        C. Other, specific objections raised by the Liquidation Trustee

        1. Clark Hill’s time spent obtaining approval of its employment

        The Liquidation Trustee complains that Clark Hill’s time spent obtaining approval of its

own employment was excessive.29 The Court agrees. According to the time records filed with

the Fee Application, Clark Hill spent the following total time on work to obtain the Clark Hill

Retention Order that was filed on May 8, 2012.30 (This does not include time spent later

defending against the Consortium’s motion to vacate the Clark Hill Retention Order, discussed in

Part II.C of this opinion).

        29
             See Tr. of 12/12/12 hearing (Docket # 1924) at 9-11.
        30
             Docket # 501.

                                                     22



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       Evan J. Feldman (“EJF”)
       (Associate, $235.00/hour rate):           9.8 hours       ($2,303.00)

       Robert D. Gordon (“RDG”)
       (Partner, $550.00/hour rate):             14.3 hours      ($7,865.00)

       Total:                                    24.1 hours      ($10,168.00)31

                                                         (blended rate = $422 per hour)

This time includes some unspecified amount of time, not exceeding .8 hours of RDG time (=

$440.00), devoted to obtaining a conflict waiver required by Clark Hill’s previous representation

of the City of Greenville, which work is not compensable under § 330, but rather should be

treated as in the nature of firm overhead.32 The Court finds that the above total amount of time is

excessive, and exceeds what is reasonable by 10 hours, which using the blended rate of $422 per

hour equals $4,220.00. The fees allowed will be reduced by this amount.

       2. Clark Hill’s time spent successfully defending against the Consortium’s motion
          to vacate the Clark Hill Retention Order

       Contrary to the argument made by the Liquidation Trustee during the hearing on the Fee

Application,33 the Court finds that the work done and the amount of time spent by Clark Hill in

successfully defending against the Consortium’s motion to vacate the Clark Hill Retention Order

(discussed in Part II.C. of this opinion) was reasonable and necessary.

       3. Clark Hill’s time spent in opposing the Committee’s motion to terminate
          exclusivity

       After the Debtors had filed their second amended joint liquidation plan on May 31, 2012,


       31
            See Fee Application, Ex. 4, June 29, 2012 invoice at 4-6 (Code B170).
       32
            Id. at 5, second RDG entry for 5/3/12 and RDG entry for 5/7/12.
       33
            See Tr. of 12/12/12 hearing at 11.

                                                   23



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which proposed substantive consolidation of the two bankruptcy estates, the Committee, by its

counsel Foley, filed two related motions, also on May 31, 2012. First, the Committee filed a

motion to delay solicitation of voting on the Debtors’ plan.34 Second, the Committee filed a

motion under 11 U.S.C. § 1121(d)(1), asking the Court to terminate the Debtors’ then-exclusive

right to file a plan under 11 U.S.C. § 1121(b)(the “exclusivity motion”).35 On June 5, 2012, the

ECD Sub-Committee, the Debtors, and the Consortium all filed objections to the Committee’s

motions.36 The Court held an expedited hearing on June 6, 2012 on the Committee’s motions,

during which Clark Hill argued for the ECD Sub-Committee. The Court filed a written opinion

and order the next day, denying both of the Committee’s motions.37

        The Liquidation Trustee argues that Clark Hill’s work for the ECD Sub-Committee in

opposing the Committee’s exclusivity motion should not be compensated, because it was both

unreasonable and unnecessary, and because it was outside the scope of work authorized by the

Clark Hill Retention Order. This is so, the Trustee argues, because there was no “Actual

Conflict” between the ECD creditors and the USO creditors with respect to the exclusivity

motion. One reason for this, the Trustee says, is because the Committee as a whole, representing

both the ECD creditors and the USO creditors, filed the exclusivity motion; thus there was no

“Actual Conflict” after the motion was filed.38

        34
             Docket # 613.
        35
             Docket # 617.
        36
             Docket ## 648, 649, 650, 651.
        37
             Docket ## 683, 685.
        38
           The Committee, through its counsel Foley, made a similar argument about the ECD Sub-
Committee’s opposition to the exclusivity motion, during the June 6, 2012 hearing. (The Court did not
rule on such argument then, finding it unnecessary to do so at that time.) See Tr. of June 6, 2012 hearing

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       The Court must reject the Trustee’s arguments. First, the Court finds that Clark Hill’s

work was well within the scope of the work authorized by the Clark Hill Retention Order. As the

Court has found, above, the Committee had previously, and accurately, determined that “Actual

Conflicts” existed, including conflicts about “prepetition intercompany transfers from ECD to

USO, a purported $5 million secured line of credit extended by ECD to USO, the

characterization of such transfers, plan negotiations and the undecided issue of substantive

consolidation.”

       Once the Committee had determined that these broad “Actual Conflicts” existed, and

formed the ECD Sub-Committee, that subcommittee’s appointed counsel, Clark Hill, was

broadly authorized, by the Clark Hill Retention Order and the Foley Retention Order, to do the

following work: (1) “evaluate the conflict[s] and take any required action in these Chapter 11

Cases, subject to the usual retention requirements under the Bankruptcy Code” and (2) represent

the ECD Sub-Committee in exercising its “right to take independent action in these Chapter 11

Cases, as if a separate, official committee of [the Debtor ECD], if [the ECD Sub-Committee]

determines to do so, including without limitation filing pleadings, objections, or supporting

matters, with respect to the Actual Conflicts.”39

       The work Clark Hill did in helping the ECD Sub-Committee oppose the exclusivity

motion clearly was related to several “Actual Conflicts” previously identified by the Committee,

namely the “undecided issue of substantive consolidation;” the issues relating to inter-company

transfers and debts and their characterization; and “plan negotiations” relating to such issues.


(Docket # 2397) at 10, 29-30.
       39
            Foley Retention Order (Docket # 406) at 3.

                                                    25



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This is so because in the exclusivity motion, the Committee sought the ability to file a competing

plan that did not involve substantive consolidation, and let the creditors of the two bankruptcy

estates decide, by voting, which plan they preferred. That ran counter to the position that the

ECD Sub-Committee, with Clark Hill’s advice and assistance, had decided to take by that time,

to support confirmation of the Debtors’ substantive consolidation plan, with as little delay and

expense over the matter as possible.40

       The Court agrees with Clark Hill’s view of the permitted scope of its work for the ECD

Sub-Committee, including this point:

                 In the course of [its] analysis, the ECD Creditors Sub-Committee
                 ultimately determined that substantive consolidation, as proposed
                 under the Debtors’ plan of liquidation, represented the best and
                 most efficient outcome for ECD unsecured creditors. Accordingly,
                 it was the well-considered view of the Sub-Committee that any
                 hearings and issues that might impact the process of confirming the
                 Debtors’ plan of liquidation constituted a matter as to which the
                 ECD Creditors Sub-Committee should voice its position on behalf
                 of the ECD unsecured creditors.41

       The mere fact that the Committee as a whole was supporting the exclusivity motion did

not preclude the ECD Sub-Committee and its counsel Clark Hill from opposing that motion.

Once the Committee had determined (accurately, as the Court has found) that the several broad

areas of “Actual Conflict” existed, it was no longer up to the Committee to decide which of those

“Actual Conflicts” the ECD Sub-Committee and its counsel could work on, or what positions

they could take, or when they could take action on these issues. Those decisions were for the

ECD Sub-Committee to make.

       40
         See Op. (Docket # 683); ECD Sub-Committee Objection [to the Committee’s Exclusivity
Motion](Docket # 649) at ¶¶ 11-14, 17-21.
       41
            Clark Hill Reply[, etc.] (Docket # 1579) at 5 ¶ 11.

                                                     26



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       Thus, the work of Clark Hill in opposing the exclusivity motion was well within the

scope of work authorized by the Clark Hill Retention Order and the Foley Retention Order. And

the Court finds that all of the work done and time spent by Clark Hill in this regard, as reflected

in its Fee Application, was reasonable and necessary, and therefore is fully compensable.

       4. Clark Hill’s work for the ECD Sub-Committee in furthering the cause of
          confirmation of the Debtors’ substantive consolidation plan of liquidation, once
          the ECD Sub-Committee decided that such plan was in the best interests of the
          ECD creditors

       In addition to opposing the Committee’s exclusivity motion, discussed in the preceding

section of this opinion, Clark Hill did other work in furthering the cause of confirmation of the

Debtors’ Second Amended Plan, which was a liquidation plan including substantive

consolidation. (And before that, Clark Hill’s work assisted the ECD Sub-Committee to the point

where that Sub-Committee was able to decide that the Debtors’ plan was in the best interests of

the ECD creditors.)

       The Liquidation Trustee objects to allowance of fees attributable to Clark Hill’s work in

supporting confirmation.42 The Court overrules the Trustee’s objection, however, for basically

the same reasons stated above regarding Clark Hill’s work on the exclusivity motion. The Court

finds that all of Clark Hill’s work of this type, as reflected in the Fee Application, was within the

scope of work authorized by the Clark Hill Retention Order and the Foley Retention Order, and

was reasonable and necessary, and therefore is fully compensable.

       5. Clark Hill’s billing for clerical work done by Robert Gordon’s legal secretary

       The Court agrees with the Liquidation Trustee’s argument that fees should not be allowed

for the work done by Lauralyn Bell-Guzzo, who was attorney Robert Gordon’s legal
       42
            E.g., Objection (Docket # 1454) at ¶¶ 22-25.

                                                    27



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secretary/assistant. The Fee Application includes a total of 1.7 hours of time for work done by

Ms. Bell-Guzzo, billed at $130.00 per hour, for a total of $221.00. The Court finds that this time

and work is clerical in nature, and therefore not allowable under § 330. See, e.g., In re Bass, 227

B.R. 103, 107 (Bankr. E.D. Mich. 1998). But to the extent the Liquidation Trustee argues that

any time entries for work done by the attorneys (Robert D. Gordon and Evan J. Feldman) are for

clerical work, the Court disagrees, and overrules that objection.

        6. Clark Hill’s alleged impermissible “lumping” of activities in its time entries

        The Liquidation Trustee argues, without citing any specific examples, that the Clark Hill

Fee Application impermissibly “lumps” activities together, “making it impossible to assess

whether a reasonable amount of time was spent on each task.”43 Having reviewed the Clark Hill

time entries, and in the absence of greater specificity in this objection, the Court will overrule

this objection, in the exercise of its discretion.

        7. Other arguments by the Liquidation Trustee

        The Court has considered all of the other specific arguments made by the Liquidation

Trustee in its written Objection to Clark Hill’s Fee Application, and in the hearing held on the

application, and the Court concludes that they do not warrant any disallowance of or reduction in

the fees requested by Clark Hill.

        In addition, the Court concludes that it is neither necessary nor appropriate to grant the

Liquidation Trustee’s requests for leave to conduct discovery and for an evidentiary hearing on

the Fee Application.

        8. Clark Hill’s Supplement, seeking an additional $12,541.50 in fees for defending
           the Fee Application against the Liquidation Trustee’s objection
        43
             Objection (Docket # 1454) at ¶ 28.

                                                     28



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       As discussed in Part II.D of this opinion, Clark Hill filed a “Supplement” to its Fee

Application, in which Clark Hill seeks additional fees of $12,541.50, for the time period

November 12, 2012 through December 11, 2012, for a total of 27.90 hours of attorney time. This

time was spent reviewing and responding to the Liquidation Trustee’s objection to Clark Hill’s

Fee Application.

       The Court must disallow all of the fees reflected in Clark Hill’s Supplement. After the

hearing on the Fee Application, the United States Supreme Court decided the case of Baker Botts

L.L.P. v. ASARCO LLC, 135 S.Ct. 2158 (2015). In that case, the Supreme Court held that

attorneys for a Chapter 11 debtor cannot be allowed fees under Bankruptcy Code § 330 for work

done in defending a fee application against objections.

       The Supreme Court’s holding in ASARCO applies with equal force to fees sought by

counsel for an official creditor’s committee under § 330, even though such counsel is appointed

under 11 U.S.C. § 1103(a), unlike the Chapter 11 debtor’s counsel, who is appointed under 11

U.S.C. § 327(a). See 11 U.S.C. § 330(a)(which by its terms applies, in relevant part, to “a

professional person employed under section 327 or 1103”); In re River Road Hotel Partners,

LLC, 536 B.R. 228, 241 (Bankr. N.D. Ill. 2015)(citing ASARCO, and holding that “[t]here is no

distinction between fees incurred by debtor’s counsel and those incurred by a third party’s

counsel when the fees are to be reviewed under § 330;” and holding that a financial advisor

retained by the debtors could not recover the attorney fees it incurred for defending its fee

request).

       Because all of the time reflected in Clark Hill’s Supplement is for Clark Hill’s defense of

its earlier Fee Application, in response to the Liquidation Trustee’s objections, the Court must


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disallow the fees requested in the Supplement.

IV. Conclusion

       For the reasons stated in this opinion, the Court sustains the Liquidation Trustee’s

objections to the Clark Hill Fee Application to the extent stated. Otherwise, the Court overrules

the objections. The Court will enter a separate order reflecting these rulings, and the Order will

grant the Fee Application in a reduced amount, reflecting reductions that are consistent with this

opinion. The Order also will disallow all of the additional fees sought in Clark Hill’s

“Supplement,” as discussed in this opinion.


Signed on October 16, 2015                            /s/ Thomas J. Tucker
                                                      Thomas J. Tucker
                                                      United States Bankruptcy Judge




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